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              EXHIBIT 1
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VIRGINIA:
                                                                                       FILED
                    IN THE CIRCUIT COURT OF FAIRFAX COUNTY
                                                                                      JUN 26 2024
                                                                                     CHRISTOPHER J. FALCON
                                                                                      Clerk ol lhe Circuit Cou,t
                                             )                                         of F~lfax Couniy, VA

WILLIAM JOSEPH DEMIERO,                      )
                                             )
              Plaintiff,                     )
                                             )
       v.                                    )       Civil Action No.     20 2 4              9 0 12
                                             )
DIGIDAY l\IBDIA,                             )
462 7th Avenue                               )
Office 601                                   )
New York, NY 10018                           )
                                             )
               Defendant.                    )
                                             )

                                         COMPLAINT
       Plaintiff William Joseph DeMiero ("Plaintiff'' or "Mr. DeMiero"), in support of his

Complaint against Digiday Media ("Digiday" or "Defendant"), hereby states the following:


                                 NATURE OF THE ACTION
       1.      This defamation action arises from an article published on Digiday's online

platform on December 8, 2023 titled, "After rocky tenure, UM replaces U.S. CEO with chief

client officer Erin Quintana" (the "Article" or the "Digiday Article"). A true and correct copy of

the Article is attached hereto and incorporated by reference as Exhibit A.

       2.      The Article contains numerous false and defamatory statements about Mr.

DeMiero intended to suggest that Mr. DeMiero was ineffective as a CEO, responsible for the loss

of business and key talent, and that he did not leave Interpublic Group (IPG) of his own volition.

       3.      As a direct result of the publication of the Article, Mr. DeMiero has suffered

significant losses, including the loss of new employment opportunities.
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                                            PARTIES

         4.      Plaintiff William Joseph DeMiero is an individual and a resident of the State of

Texas.

         5.      Defendant Digiday Media is an online digital media platform with its

headquarters in New York.

                                 JURISDICTION AND VENUE

         6.      This Court has general and specific personal jurisdiction over Defendant under

Virginia's long-arm statute, Va. Code § 8.01-328. l(A)(l), (3), and (4), as well as under the Due

Process Clause of the U.S. Constitution. Digiday is hosted on Amazon Web Services and is

published through servers located in Herndon, Virginia. Thus, the Article at issue was published

in Virginia, involved "[u]sing a computer or computer network located in the Commonwealth"

which in turns "constitute[s] an act in the Commonwealth" (see Va. Code§ 8.01-328.l(B)), and

Virginia is the lex loci delicti (i.e., the place of the wrong). And not only was the Article

published in Virginia, but every article published every single day by Digiday is published in

Virginia. This represents the type of continuous and systematic connection to Virginia that

supports the exercise of general personal jurisdiction (in addition to specific personal

jurisdiction).

         7.      Moreover, the Article was designed to attract and serve Virginia readers and cause

reputational harm in Virginia. The subject matter of the Article is Mr. DeMiero's purportedly

"rocky" tenure at Universal McCann ("UM"), whose parent company (Interpublic Group, or

"IPG" as referenced in the Article) maintains offices in Virginia, including the headquarters of

The Martin Agency (which was established in Virginia in 1965) and Octagon (which maintains

offices in McLean), where Mr. DeMiero regularly worked and oversaw IPG's numerous



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employees in Virginia, including high-level executives like UM's general counsel. The Article

further discusses UM's numerous clients with whom Mr. DeMiero worked, some of whom are

headquartered in Virginia, and many of whom have thousands of employees and do business in

Virginia. Digiday is a U.S.-based trade publication that has published more than 500 articles

referencing or about Virginia-based advertising agencies or subjects. Thus, Digiday knew and

intended for the article to be of targeted interest to Virginia readers and knew and intended for

the harm caused by the article to occur in Virginia. This is evidenced by the fact at least one of

the employment opportunities Mr. DeMiero lost as a result of the Article involved oversight and

operations in Virginia. For these reasons, the cause action in this Complaint arises from

Defendant's transacting business in the Commonwealth and causing tortious injury by an act or

omission in the Commonwealth. Exercising jurisdiction would not offend traditional notions of

fair play and substantial justice because Defendant could have reasonably foreseen being haled

into a Virginia court to account for the false and defamatory Article which they published in

Virginia.

         8.    Venue is proper in this circuit under Va. Code § 8.01-262 because the cause of

action asserted herein arose in this Circuit.

                                                FACTS

Mr. DeMiero s Tenure at UM

         9.    Mr. DeMiero was appointed U.S. CEO of UM in January 2022.

         10.   In this role, he reported to the Global CEO, who in tum reported to a business unit

CEO, who in turn reported to the CEO of publicly traded parent company Interpublic Group

(IPG).




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       11.     During Mr. DeMiero's tenure, UM won several new accounts, including GEICO

and General Mills, which were two of the biggest reviews in the industry in 2022 and 2023.

       12.     Also during Mr. DeMiero's tenure, UM received multiple public awards m

recognition of its performance, including Ad Age's "U.S. Media Agency of the Year";

Campaign's "Media Agency Global Network of the Year"; and thirteen different "Best Places to

Work" recognitions, including Fortune's "Best Workplaces", Newsweek's "Greatest Workplaces

for Diversity", and Campaign's "Sustainability Standout".

       13.     In 2023, Mr. DeMiero's father became severely ill, and was placed in hospice

care. Mr. DeMiero departed IPG in a mutually-agreed-upon manner, so that he could care for his

father's immediate medical needs. The decision for Mr. DeMiero to step down was not prompted

in any way by his performance as U.S. CEO of UM or UM's business performance.

Publication of the Digiday Article

       14.     On December 8, 2023, Digiday published an article by Michael Biirgi on its

online platform hosted in Virginia with the title, "After rocky tenure, UM replaces U.S. CEO

with chief client officer Erin Quintana" (the "Digiday Article" or the "Article").

        15.    Prior to the publication of the Article, neither Mr. Biirgi nor anyone else at

Digiday contacted Mr. DeMiero for comment on the Article.

        16.    The central theme of the Article was that Mr. DeMiero was ineffective as a CEO

and left under unfavorable circumstances.

        17.    Seemingly reflecting the amount of due diligence that went into the Article, Mr.

DeMiero's name was spelled incorrectly throughout as "Joe DiMiero".

        18.    The Article contained numerous false and defamatory statements. In the Article,

Mr. Bilrgi wrote:



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              •   "After rocky tenure, UM replaces U.S. CEO with chief client officer Erin
                  Quintana"

              •   "Quintana replaces Joe DiMiero, who was appointed U.S. CEO in January 2022
                  but has had a troubled tenure marked by client losses, a questionable management
                  style and high-level executive departures."

              •   "DeMiero, who internal sources said hasn't been seen for weeks in meetings he
                  was expected to attend...."

              •   "Under DeMiero, there have been at least three rounds oflayoffs in 2023 ...."

              •   "One of those sources attributed the loss of clients Nationwide and Zillow to
                  DiMiero."

              •   "Two sources said DiMiero ultimately ran afoul of Eileen Kiernan, global CEO of
                  Mediabrands, the umbrella under which UM sits alongside Mediahub, Initiative
                  and Magna."

         19.      And to promote traffic to the article from readers based in Virginia and elsewhere,

Mr. Btirgi posted to X/Twitter: "Joe's tenure was, shall we say, troubled" with a link to the

article. Digiday then liked Mr. Biirgi's post.

The Statements in the Digiday Article Were False and Defamatory

       20.        The statements in Digiday's Article are demonstrably false and defamatory.

       21.        As set forth above, during Mr. DeMiero's tenure, UM won numerous public

awards in recognition of its success. These included Ad Age's "U.S. Media Agency of the Year"

award, and Campaign's ''Media Agency Global Network of the Year" award.

        22.       Additionally, during Mr. DeMiero's time as U.S. CEO, UM significantly

increased its commerce billings, making it the largest commerce practice in the industry.

        23.       Contrary to the statements in the Digiday Article, no one on Mr. DeMiero's

executive leadership team left the agency during his tenure. The executive departures that took

place at the agency during Mr. DeMiero's tenure were all by members of the UM Global team,

which was not part of Mr. DeMiero's purview as U.S. CEO of UM.

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       24.    Three executives departed during Mr. DeMiero's tenure, all of whom reported to

or were in the; chain of command for UM's Global CEO, not Mr. DeMiero.

       25.     Two of those executives wrote public articles about why they departed UM.

Neither article mentioned Mr. DeMiero, or anything relating to him.

       26.     Nor were there any layoffs, let alone "three rounds of layoffs," attributable to Mr.

DeMiero's purview as UM's U.S. CEO in 2023. Any layoffs that allegedly occurred in 2023,

again, were part of UM Global, which was not under Mr. DeMiero's purview as U.S. CEO of

UM. Instead, throughout Mr. DeMiero's tenure and at the time the Digiday Article was

published, UM was seeking to expand its workforce and had dozens of open new hire positions

posted to its "careers" website and on Linkedln. This job creation was a direct result of Mr.

DeMiero's new business wins and organic growth of current clients as U.S. CEO. As has been

reported in other trade publications, under Mr. DeMiero's leadership, UM U.S. saw 36% year-

over-year improvement in new business wins, and organic growth across 40% of its clients.

       27.     Further, contrary to the Digiday Article's statement that Mr. DeMiero "hasn't been

seen for weeks in meetings he was expected to attend", Mr. DeMiero did not miss any meeting

that he was scheduled to (and therefore expected to) attend in the months prior to his departure.

       28.     In the weeks prior to the publication of the Digiday Article, Mr. DeMiero was

actively involved in more than a dozen new business pitches and had a full schedule of client and

internal meetings in Los Angeles, Detroit, and New York. He also participated as a panelist at

industry events during this period.

       29.     Also in the weeks prior to publication of the Article, Mr. DeMiero held weekly

all-agency meetings broadcast on Zoom for all employees.




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       30.     While he served as U.S. CEO, Mr. DeMiero's schedule was published internally

and could therefore be easily reviewed.

       31.     Moreover, contrary to the statements in the Article, UM did not "lose" Zillow or

Nationwide as clients due to Mr. DeMiero. UM transferred Zillow as a client to a sister agency,

Mediahub, due to a conflict with another client. And, Nationwide gave UM notice that it was

putting its business under review before Mr. DeMiero joined UM. The loss of such business

clearly is not attributable to Mr. DeMiero.

       32.     Finally, the Article falsely states that Mr. DeMiero "ran afoul" of global CEO

Eileen Kiernan. To the contrary, Mr. DeMiero and Ms. Kiernan remain friends as well as close

professional contacts. On numerous occasions, both verbally and in writing, Ms. Kiernan has

spoken favorably about Mr. DeMiero and his tenure at UM, and rated him "exceeds" in his

performance reviews, the highest possible rating.

Consequences of the DigidayArticle

       33.      Publication of the Digiday Article has caused Mr. DeMiero to suffer significant

lost opportunities for new employment. These losses are directly attributable to the statements

made in the Article.

        34.     Following his departure from UM, Mr. DeMiero was being considered for the

Chief Marketing Officer position at an international restaurant chain.

        35.     Mr. DeMiero had engaged in numerous discussions with leaders at that

international restaurant chain, with significant operations in Virginia, including that company's

Chief People Officer ("CPO") in early 2024, and was made aware he was the only candidate left

in their search for the position.




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       36.     On February 16, 2024 the restaurant chain's CPO texted a link to the Digiday

Article to Mr. DeMiero and wrote, "Hey Joe have time to chat about this today?"

       37.     Mr. DeMiero replied "of course" and asked the restaurant chain's CPO what time

he could speak that day.

       38.     On February 26, 2024, Mr. DeMiero texted the restaurant chain's CPO and asked

if the restaurant chain's CPO had "a few minutes to catch up today".

       39.     The restaurant chain's CPO did not reply until the following day, February 27,

2024, and stated: "Hey Joe busy time board next week. Can I give you a shout tomorrow?".

       40.     On February 28, 2024, Mr. DeMiero emailed the restaurant chain's CEO and

wrote: "[CPO] called me to chat about the Digiday article, but I wanted to reach out directly to

see if you have a few minutes to connect." Mr. DeMiero further wrote: "As I shared with [CPO],

the article came as a real sucker punch, because there is zero truth to what is in it, it was harmful

to former clients and current employees, and was an unfounded personal attack on me."

       41.     On March 11, 2024, Mr. DeMiero texted the restaurant chain's CPO to check in.

Mr. DeMiero wrote: "I emailed [CEO] but haven't heard back yet. Let me know what you

suggest."

       42.     On March 19, 2024, the restaurant chain's CEO replied to Mr. DeMiero's

February 28th email and wrote to tell Mr. DeMiero he was no longer being considered for the

role: "I am actually going to split the CMO role up into a couple different roles and look at

resourcing the work a little differently."

       43.     Multiple other potential employers have brought up the Article and stopped

potential future employment conversations as a direct result of the Article.




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       44.        Mr. DeMiero brings this action now to clear his name and hold Digiday

accountable for its false and defamatory content.

                                          COUNT ONE
                                   (Defamation/Defamation per se)

       45.        Plaintiff repeats and re-alleges each of the foregoing paragraphs as if set forth

fully herein.

       46.        Defendant published the Article on December 8, 2023 on its online platform via

servers located in Virginia.

        47.       The Digiday Article contained the following false and defamatory statements

concerning .Mr. DeMiero:

              •   "After rocky tenure, UM replaces U.S. CEO with chief client officer Erin
                  Quintana"

              •   "Quintana replaces Joe DiMiero, who was appointed U.S. CEO in January 2022
                  but has had a troubled tenure marked by client losses, a questionable management
                  style and high-level executive departures."

              •   "DeMiero, who internal sources said hasn't been seen for weeks in meetings he
                  was expected to attend...."

              •   "Under DeMiero, there have been at least three rounds of layoffs in 2023 ...."

              •   "One of those sources attributed the loss of clients Nationwide and Zillow to
                  DiMiero."

              •   "Two sources said DiMiero ultimately ran afoul of Eileen Kiernan, global CEO of
                  Mediabrands, the umbrella under which UM sits alongside Mediahub, Initiative
                  and Magna."

        48.       These statements are of and concerning Mr. DeMiero, as he is explicitly named in

the Digiday Article, albeit with his name spelled incorrectly.

        49.       These statements, which imply that Mr. DeMiero was ineffective as a CEO and

left under unfavorable terms, are false.


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       50.    At the time of publication, Defendant knew these statements were false, and the

statements were made with malice and/or a reckless disregard for the truth. Any reasonable due

diligence would have revealed these claims to be false.

       51.     Moreover, upon information and belief, Digidays "sources" clearly bear ill will

towards Mr. DeMiero, raising obvious doubts as to the veracity of their statements.

       52.     At a minimum, the statements were negligently made and Digiday failed to

adequately investigate the information published in the Article.

       53.     By publishing these false statements, Defendant caused harm to Mr. DeMiero's

reputation. The injury to Mr. DeMiero's reputation from Defendant's false statements is readily

apparent as they lower him in the estimation of the community and deter third persons from

associating or dealing with him.

       54.     As a direct and proximate result of these false statements by Defendant, Mr.

DeMiero has suffered damages, including, inter alia, injury to his reputation, harm to his ability

to carry out his profession, embaiTassment, humiliation, and emotional distress.

       55.     Defendant's false statements also are defamatory per se because they suggest Mr.

DeMiero is unfit to perform the duties of his employment and hurt him in his chosen

profession/trade.

       56.     Defendant's actions were malicious, willful, and wanton, and evidence a

conscious disregard of Mr. DeMiero's rights. Accordingly, punitive damages are appropriate.

       WHEREFORE, Plaintiff respectfully requests that the Court enter an award in Plaintiff's

favor and against Defendant, as follows:

       (1)     awarding Mr. DeMiero damages of $15,000,000;



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      (2)    awarding Mr. DeMiero punitive damages to the maximum extent permitted by the

laws of this Commonwealth; and

      (3)     granting such other and further relief as the Court deems appropriate.


                                 JURY TRIAL DEMANDED

      Plaintiff William Joseph DeMiero hereby demands a jury trial on all issues so triable.




Dated: June 26, 2024                                Respectfully submitted,

                                                    William Joseph DeMiero

                                                    By his attorneys,

                                                    BROWN RUDNICK LLP



                                                    Benjamin G. Chew (VSB #29113)
                                                    Andrew C. Crawford (VSB #89093)
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                       Exhibit A
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                                                       AGENCY CULTURE




          After rocky tenure, UM replaces U.S. CEO with chief client
                             officer Erin Quintana
                                By Michael BOrgi • December 8, 2023 • 2 min read •
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Ivy Liu
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IPG's media agency UM named Erin Quintana, chief client officer and
a 15-year veteran of the company, to be its new U.S. CEO. Quintana
replaces Joe DiMiero, who was appointed U.S. CEO in January 2022
but has had a troubled tenure marked by client losses, a questionable
management style and high-level executive departures.

DiMiero, who internal sources said hasn't been seen for weeks in
meetings he was expected to attend, has taken a leave of absence,
according to a representative, who didn't elaborate. Hi.s name wasn't      TRENDING IN AGENCY CULTURE
mentioned in the press release on Dec. 8 announcing Quintana's


                                                                                                                D
                                                                           D1     MEMBER EXCLUSIVE
promotion to CEO.
                                                                                Media Buying Briefing: Why
                                                                                Brett Marchand doesn't see
Under DiMiero, there have been at least three rounds of layoffs in              Plus Company as a holding
                                                                                company
2023, according to internal sources who reached out to Digiday
following a story on client losses and executive departures earlier this


                                                                                                                II
                                                                           D2     MEMBER EXCLUSIVE
week. One of those sources attributed the loss of clients Nationwide
                                                                                Digiday Media Agency Report
and Zillow to DiMiero.                                                          2023: The state and future of
                                                                                the media agency, from client
                                                                                spending to Al's impact
Other sources allege he ran a shadow leadership team out of Dallas,




                                                                                                                -~
where he was based. "He's been ineffective and has no presence:' said
                                                                                SPONSORED
one internal source who also said earlier this week that DiMiero's
                                                                                How advertisers are
departure was imminent.                                                         addressing media wastage        .,. ..   ~




Two sources said DiMiero ultimately ran afoul of Eileen Kiernan,
                                                                           03   AGENCY CULTURE
global CEO of Mediabrands, the umbrella under which UM sits
                                                                                GroupM North America CEO
alongside Mediahub, Initiative and Magna. Kiernan had hired DiMiero,            Kirk McDonald exits in senior
                                                                                shake up
according to sources with knowledge of his onboarding back in 2022.
Kiernan was unavailable for comment.


Quintana, conversely, was complimented by some of these sources, on
her strong client relationships. She will report to UM's global CEO
Andrea Suarez, who was appointed to that role following the sudden
departure of Sasha Savic earlier this summer.

Previously, Quintana oversaw all account management, and is credited
with leading the pitch that won_UM the global General Mills business.
She previously served as evp, global client lead, in charge of accounts
including Johnson & Johnson and American Express.


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        Business email

                                                                                           MOST READ

        Job title                                                              SIGN UP




                                                                                                                                   •
                                                                                           01    AGENCY CULTURE

                                                                                                 After rocky tenure, UM
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - , - . p l ~ l t t : l : ! . S : . - C E O with chief
                                                                                                 client officer Erin Quintena

"As the Head of J3 (now Onevue), UM's bespoke unit dedicated to the



                                                                                                                                   ■
J&J business, she brought all components of the client's media buying                       02   EVOLVING AGENCIES

business under one umbrella for the first time ever while delivering                             UM and Magna undergo
                                                                                                 multiple rounds of layoffs
award-winning work and driving a culture of collaboration and                                    amid client lo5ses

support;' read the press release announcing Quintana's appointment.
                                                                                            03   GAMING & ESPORTS

"I am thrilled at the opportunity to lead UM U.S. after spending more
than half of my career within this incredibly special community and
experiencing so many different parts of the business;' Quintana said in
                                                                                                 Here Is how Lego's
                                                                                                 partnership with Fortnlte
                                                                                                 stacks up as en example of
                                                                                                 video game brend merketing        •
                                                                                                                                   m
that same statement. "We have strong momentum at our backs that I
                                                                                            04   LOOKING BACK/AHEAD TO 2024
am excited to accelerate in 2024 through a focus on growth for our
                                                                                                 Why the first Grand Theft
clients, our community and our industry:'                                                        Auto 6 treiler might be
                                                                                                 geming's bigge5t marketing
                                                                                                 moment of 2023

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                                                                                            05   DIGIDAY PROGRAMMATIC
                                                                                                 MARKETING SUMMIT

                                                                                                 Why the ad industry still isn't
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        Business Email



    .   Job Title                                                       SIGN UP




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MORE IN MEDIA BUYING
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THE HISTORY OF AD TECH

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GENERATIVE Al

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  MEMBER EXCLUSIVE
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~e~la Buying Briefing: Omnicom Media Group's CEO on the economy, fraud, the quadropoly and 'agency as a platform'

December 11, 2023 • 8 min read

Florian "Flo" Adamski weighed in on what 2024 looks like for his company and their clients, while explaining why the industry
is still seriously addressing ad fraud.




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